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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                       Case No. 1:17cr19-MW/GRJ-3

LANEY SUZANNE ELLIS,
        Defendant.

__________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 74, to which there has been no timely objection, and subject to this

Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P. 11(e)(2),

the plea of Guilty of the Defendant to Count 2 of the Superseding Indictment against

her is hereby ACCEPTED. All parties shall appear before the Court for sentencing

as directed.

      SO ORDERED on February 21, 2018.

                                      s/Mark E. Walker
                                      United States District Judge
